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                 EXHIBIT 41
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                                                                       Page 1
                          UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF OHIO

                                  EASTERN DIVISION



          -----------------------------) MDL No. 2804

          IN RE NATIONAL PRESCRIPTION          )

          OPIATE LITIGATION                    )

                                               ) Case No. 17-md-2804

          This document relates to:            )

          All Cases                            )

          -----------------------------) Hon Dan A. Polster



                               HIGHLY CONFIDENTIAL

                 SUBJECT TO FURTHER CONFIDENTIALITY REVIEW



                        The 30(b)(6) videotaped deposition of

          ALLERGAN by and through MARY WOODS, called for

          examination, taken pursuant to the Federal Rules of

          Civil Procedure of the United States District Courts

          pertaining to the taking of depositions, taken before

          JULIANA F. ZAJICEK, a Registered Professional Reporter

          and a Certified Shorthand Reporter, at Lieff Cabraser

          Heimann & Bernstein, 8th Floor, 250 Hudson Street, New

          York, New York, on January 9, 2019, at 9:10 a.m.
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                                                                      Page 30
     1    talking about brand name and opioid drugs, right?

     2                  And so you had said that every opioid --

     3    every controlled substance has to go through a

     4    suspicious order monitoring system?

     5          A.      That's correct.

     6          Q.      And does -- as you think about it, does

     7    every opioid in your experience at Watson, Actavis

     8    Inc. and Allergan Finance, LLC -- let me start over.

     9                  In your experience at Watson, Actavis and

   10     Allergan Finance, LLC, did every controlled substance

   11     go through the same suspicious order monitoring

   12     system?

   13           A.      So let me just make one clarification.

   14     Allergan Finance, LLC is not a DEA registrant.                So

   15     let's just stop with that one --

   16           Q.      Uh-huh.

   17           A.      -- for one second, okay.

   18           Q.      Let me -- before we get -- Actavis, Inc.

   19     was a DEA registrant, right?

   20           A.      Actavis, Inc. was a DEA registrant.

   21     Allergan Finance, LLC is not a DEA registrant.

   22           Q.      Okay.

   23           A.      Okay.

   24                   Watson Pharmaceuticals, Inc. had a
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                                                                      Page 31
     1    different suspicious monitor ordering system than

     2    Actavis Inc. because they were separate companies.

     3          Q.      So, at Watson Pharmaceuticals you

     4    testified that there were Schedule II through V

     5    controlled substances at the company.

     6                  Did all of the controlled substances go

     7    through the same suspicious order monitoring system or

     8    was there a different SOM for each drug or something

     9    else?

   10             A.    Every controlled substance goes through.

   11     The CSA doesn't differentiate that you can be more

   12     lenient on some controlleds than others.

   13             Q.    All right.

   14             A.    They all go through the same suspicious

   15     order monitoring system.

   16             Q.    All right.     And do you have an

   17     understanding as to whether that was the case at

   18     Actavis no comma Inc. as well?

   19             A.    My understanding is that that was the same

   20     for Actavis Inc. as well.

   21             Q.    And how about for Actavis comma Inc.?

   22             A.    Yes, same for them as well.

   23             Q.    All right.     So for all three of these

   24     entities with the understanding that the third is
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                                                                      Page 32
     1    Actavis, Inc., not Allergan Finance, LLC, each of them

     2    had at any given time one suspicious order monitoring

     3    system that every Controlled Substances Act-eligible

     4    drug would have been processed through, is that right?

     5          A.      That is correct.

     6          Q.      All right.

     7                  So, with regard to your time at Watson

     8    Pharmaceuticals, Inc., when you think of the volume of

     9    drugs going through the suspicious order monitoring

   10     system, about what percentage of the volume was made

   11     up by prescription opioid drugs?

   12           MS. LEVY:     Objection; far beyond the scope of

   13     the corporate representative topics.

   14                   You can answer to the extent you know.

   15     BY THE WITNESS:

   16           A.      I can give you an idea of maybe

   17     the percent that pended, if that will help.              In some

   18     years, I mean, we did do metrics, I can give you an

   19     idea, so an average amount that pended of the orders

   20     was probably between 30 and 40 percent.

   21     BY MR. EGLER:

   22           Q.      When you say the "amount that pended,"

   23     what does that mean?

   24           A.      That would mean that it would block in our
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                                                                      Page 33
     1    system by one of the parameters that were set up and

     2    it would have to be reviewed and investigated.

     3           Q.     Do you have an understanding with regard

     4    to Actavis Inc. what the volume of prescription

     5    opioids drugs was with regard to their entire volume

     6    being passed through the suspicious order monitoring

     7    system?

     8           MS. LEVY:    Object to the form.

     9                  You can answer.

   10     BY THE WITNESS:

   11            A.     I'm sorry.     Can you rephrase that?         Are

   12     you -- are you looking for the same answer?

   13     BY MR. EGLER:

   14            Q.     Yes, for -- the same question for Actavis

   15     Inc.

   16            A.     Their system worked different, so I don't

   17     necessarily have a percent of -- of orders that were

   18     controlled substances.        Their system worked different

   19     and their reports were different and it was an

   20     inventory management/order management -- order

   21     management SOMS report, so it was different, so I -- I

   22     can't really give you a percent.

   23            Q.     And how about for Actavis Inc., do you

   24     have an understanding of --
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                                                                      Page 52
     1          A.      Yeah.    It was bicoastal.

     2          Q.      Okay.

     3          A.      So customer relations, the customer

     4    service people were located in Corona, California and

     5    the master data license people were located in

     6    New Jersey.

     7          Q.      What was the role of the master data

     8    license people?

     9          A.      That would have been the description I

   10     gave you with Vicky Lepore and Mary Moskello.

   11           Q.      All right.

   12           A.      Okay?

   13           Q.      And then did that change at any time while

   14     you were at Watson Pharmaceuticals, Inc. before the

   15     Actavis merger?

   16           A.      It did not change before the Actavis

   17     merger, no.      Well, before the -- I'm sorry.           Before

   18     the Actavis merger, I would say in -- back in about

   19     2003 it did change.        We changed computer systems and

   20     when we changed computer systems and went to SAP, we

   21     did segregate the roles more.           And so at the time we

   22     went into SAP, we did separate roles because of

   23     segregation and duty and at that time we developed

   24     smaller teams and that's when this team came into
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                                                                      Page 53
     1    play.

     2          Q.      Okay.

     3          A.      It was probably around 2003.

     4          Q.      All right.

     5          A.      The time that that occurred.

     6          Q.      All right.

     7          A.      So it had been in place for obviously

     8    quite a long time by that point.

     9          Q.      And then when the two entities merged,

   10     Watson Pharmaceuticals, Inc. and Actavis Inc., can you

   11     describe -- well, let's start out with your

   12     understanding of how Actavis Inc. was set up prior to

   13     the merger, their SOM and diversion systems?

   14             A.    So in approximately -- so Actavis Inc.'s

   15     SOM program, they had been running a parallel system

   16     in about 2011 into 2012, which was a combination of

   17     utilizing ValueCentric's Safe and Secure.              And Cegedim

   18     Dendrite, I'm going to use both names because they

   19     changed their name a little bit frequently, it was

   20     Buzzeo and then they changed to Cege -- to Dendrite

   21     and then to Cegedim, so I'm not sure what name people

   22     will recognize them by.

   23             Q.    I have the same issues, so we'll -- to the

   24     extent we can clarify this, we will, but --
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                                                                      Page 54
     1          A.      Okay.

     2          Q.      -- I understand what you are talking

     3    about.

     4          A.      I think at the time they were under

     5    Cegedim, to be honest.

     6          Q.      Okay.

     7                  Can you spell your understanding of

     8    Cegedim for the court reporter?

     9          A.      Let me --

   10           Q.      Is it C-e-g-e-d-i-m?

   11           A.      M, correct.      They are now IQVIA.

   12           Q.      All right.

   13           A.      So if you need to know their name today,

   14     they are owned by IQVIA.          Many of the same people are

   15     still there.

   16           Q.      All right.

   17           A.      And so at the time they were operating

   18     under those two systems, ValueCentric for indirect

   19     data, Safe and Secure, and the Cegedim system for the

   20     standard SOMS program.

   21           Q.      Okay.    You used that term "Safe and

   22     Secure."

   23           A.      Um-hum.

   24           Q.      What's your understanding of that?
